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UNITED STATES DISTRICT COURT
EASTERN DlS'l`RlCT OF MICHIGAN

 

SOU'H~IERN DWIS.ION
LAR.RY LEE POLI<;,

Plamtiff HON. DAWD M'. LAWSON

v ease No.; 00-¢\/-=10218-»3¢::

CRAIG TU'§~:R and PATRICK SHl>lRI<;;Erlf.5 4 §§
jointly and severally ` ` _W

Dei`endants. w.:;_

j . __

E_`RI~T,ST L. JARRET'F (P29770) m 1 1 :;;
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/

PLAINTIFF’S RESPONSE IN OPP(}SITION
TO DEFENDANT PATRICK SHARKEY’S MOTION
FOR SUMMARY J UDGMENT

INTRODUCTION

The above-captioned action arises l`rom an incident Which Occurred 01‘1 June 10, 1997_, al
Whi.ch time the Pla.intifii` alleges that he Was unlawfully Shot by Michigan State 'l`rc)oper Craig
'l.`uero Plaintifi` asserts claims under both state and federal law against both Dell:ndants.

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Defen_dant Patrick Sharkey, Def`endant Tuer’s partner on the night of the shooting has
lile his motion f`or summaryjudgment. 'f he essence of the Defondant’s motion is that because it
was Trooper Tuer, and not himself Who fired the lone gunshot, he (Sharkey) cannot be liable to
the l.’laintifi".
For the reasons set forth below, Plainti'f`t` disagrees and submits that the Defcndant’s
motion should be denied
STATEM`ENT OF F.ACTS
ln his brief in support of the motion, .Dei"endant Sharkey offers a short version of the
events leading up to the shooting While the Plaintit"l` does not agree With certain details asserted
by the Defendant, the differences in the competing accounts prior to the point in time at Which
the shot Was fired are not pertinent to any ol:` the issues raised by the instant motion, and therefore
the Plaintif't` will not focus upon them at this timc. Suffice it to say that the following immutable
facts are not in dispute
l. Plaintiff` operated an automobile on June 10, 1997.
2. De:f`endants Tuer and Sharkey are both officers of the l\/Iiehigan Department of
State Police, and Were partners on the night of the incident
3. Defendants followed the Plaintiff for a short time eventually signaling for him to
stop his car and to pull over (alth.ough the parties dispute at What point in the
sequence of events the si goal occurred).
4. Plainti'ff did not initially stop his car_, but did so eventually, and immediately
thereafter, exited his car and attempted to flee on foot
5v Defendant 'l`u.er fired one shot from his handgun, seriously wounding the Plaintiff.

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Although it is not disputed by the _Plai_ntit`t` that Dcfendant Sharkey did not tire his gun,
nor Was he even out o.l" the car at the time the shot Was tired, his conduct in the aftermath of the
shooting is What `Plaiiitifl` submits is actionable

Plaintiff alleges that immediately after the shooting_, ata time When it Was known that the
Plaintiff had been vvounded, but before the severity of his injury could be known to anyone5 and
despite the fact that the Plaintiff was in excruciating pain, both Defendants lifted the Plainti:t`f’s
clothing, rolled him back and forthq and lifted him from the ground in an effort to determine the
location ofthc Wound site and the trajectory of the bullet (See Complaint ft 15). ln his
deposition the Plaintiff testified to these very facts (See Plaintift` s dep pp. 20-21 attached Exh
A).

Moreover, although Dcfendant Sharkey denied this conduct in his deposition testimony
taken in this matter, he admitted to the very conduct Plaintit`f` now alleges in testimony offered by
him in criminal proceedings (See transcript of proceedingsa People v Polk, Case No. 97-3662-=
l"Y, 70”‘ District Court; 'l`estirnony of Patrick Sharl<ey, pp. 228-236 attached Exh. B). Not only
did the Defendan.t admit to moving the Plaintiff, and digitally probing his Wound, he also
admitted that the sole purpose in doing so Was to enable him to determine the direction and path
of the bullet (pp. 233-236, Exh. B).

hollowng the events of June lO, 1997, Plaintiffwas charged with several criminal
offenses Without specifying each c-hnrge, the charges can be divided into two categories 'l`he
category relates to the conduct of the Plaintift` as a driver (i.e., operating Without a lic-ense,
improper plates etc.). 'l.`he second category relates to the alleged assaultive conduct by the
Plaintiff which purportedly provided the reason for l)efendant Tuer’s use of deadly l.`orce.

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Plaintifl` pled guilty to each charge in the first category, and those charges are not the subject of
any claim asserted by him in this action

The alleged assaultive charges were abandoned by the prosecutor 'l`ollowing the
preliminary examination after all physical evidence was available and could be considered as a
whole Plaintift’ s claim for malicious prosecution focuses only upon the charge(s) which i`all
within the second category of charges
ARGUMENT

l.

The .l')eliendant first contends that he cannot be liable to the Plaintiff because he did not
fire the shot which wounded the l’laintifi.`, and indeed was not even outside ot` the patrol car at the
time the shot was fired '|`he l`)et`endant, however, incorrectly implies that the thing of the
weapon constituted the only battery which occurred in the sequence oil" events This premise
upon which the Defendant’s entire argument on this point is based, conveniently overlooks
Dei`endant Sharkcy’s conduct and the admissions made by him in his testimony in the criminal
case against thc Plaintil`i".

lt is well settled that a battery is the willful and harmfui. or oii`l"ensive touching of another
person Espinoso v Thomas, 189 Mz`ch App l ]i’) (1.99]),' Clarke v Kmarr (_`.`orp, l97 Mr'ch dij
54], app den 443 Mich 862 (',l992)n

ln the instant case, the conduct of both police officer i)cfendants, immediately alter the
shooting constitutes a battery lndeed, not only did the Delcndailt Sharkey admit to the touching
which Plaintii`f contends is actionable in addition to the shooting3 he also admitted that the reason
i"or the touching was to determine the "direction and path" ol` the bullet, g_n_c_l that such movement

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of a wounded individual (Whether criminal suspect or not) is inconsistent With his training as a
police oi`f'icer. (Exh. B).

Bccause Defendant Sharkey’s conduct in this regard Was both willful and so reckless as
to demonstrate a disregard for the likelihood that injury would result constitutes at least gross
negligence.,, if not intentional misconduct Accordingly, either Way,, the limited statutory
immunity afforded to governmental employees is not available to the Dei_`endant in the instant
case MCLA 69l.l407.

ll.

'l`he `Del"endant next contends that he is entitled to summary judgment With respect to
.Plai.ntifl.’s federal claim for use of excessive force in violation ot`tlic Plaintift`"s Fourtli
Aniendment right As Witli the Plaintil`.`l`s claim i`or assault and battery, tile Defendant focuses
only upon the act ol"t`iring a gun at the l’laintiff, as if that Was the only actionable "force" used
against him

'l`he l"ourth Amendment allows police officers to usc "reasonable" force during an errest,
investigatory stop or any7 other "seizure" and/or permits the use oi` reasonable force up to and
including deadly force for the protection ol"thc officer and/or others Converscly, any force used
Whicli is not "rea.sonable'° is excessive and hence violates the I"otu‘tli Arnendment, Graham v
(i'onnor, 490 US 386 (1989)`. Reasonableness must be examined by an objective standardr,
Graham, supra

Wliile Plaintifi` certainly contends that the shooting constituted an excessive use ol'l`orce_,
he also contends that the dejncm physical examination undertaken by both Del"endants Was the

use ot` unreasonable force

 

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Consequently, by rolling and lifting the seriously wounded Plaintiff, and digitally probing
his yvound, lPlaintifl` submits that the `Del`endant Sharkey committed an act employing
unnecessary, and unlawful t`orce_, which by definition is excessive t`orcc9 subsequent to the actual

shootingl

H_l.

`Del`endant Sharkey next contends that he is entitled to summary judgment on lil‘lr.iintii°l"s
claims l`or malicious prosecution

lt should be noted that the Plaintil`f does not assert a claim for malicious prosecution with
respect to any of the charges brought against him for his conduct as a driver which fall Within the
first category oi" charges as described above "l`hus, Plaintii"t`does not disagree With the
Defendant When he contends that probable cause to arrest the Plaintiff existed

But vvhile there may have been probable cause to effectuate an arrest, and,"or to initiate
criminal proceedings against the Plaintii`l`for some of the crimes charged against him, that
probable cause cannot be used to validate all charges brought against the Plaintift`.

Plaintifl` alleges in his complaint and submits now, that the criminal proceedings initiated
by the De:lendaiits relating to charges of assaultive behavior purportedly by the Plaintii’l.` against
Dcfen.dant luch Were initiated fraudulently l`or the sole purpose oi"lcnding some appearance oi`
legitimacy to the Defendant’s use of force Plaintit`f alleges that both Del"endants knowingly
testified falsely with respect to Plaintifl” s conduct as an assailant in an effort to insulate the
Defendant "l`uer from criminal, departmental and/or civil penalty or liability for the improper use
of deadly force As such the elements ol` a malicious prosecution have been met. Bass v 1S)_oi`rz,

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.-._"T.-.T.;.,-n . r.__w._- v 7 vrf_- -- ims-maj ,-,-.-,-.-.-,-.~_-__.W.-' .-,-,-.-,Tr»¢, WY_TF` i, . ver ,, iada , . ..,-.-m-,¢¢-. _.r,e+_ru.:.__-_~mwr.~m~¢wx».rm,-¢-._. c~+-,¢-\._.T-.~r. .-.-.-.-.-rm ¢--__'v“ -_

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522 P`Srrpp, 1343 (DC Mich l 981),' Adams v Metr`va, 32 F.i’d, 3 75 (”6”’ Cir 1994).

Furthermore, the .Defe.ndant’s reliance on Coogan v (1'in of W`z'xr)m, 820 FZd, i?{) _(6"' Cir
198?'_') is misplaced..

Altliough it is true that the court in Coogan found that during the preliminary
examination in that case, the parties had fully "litigated" the issues, and hence the finding of
probable cause during the bind over in the state district court collaterally estopped the `Plaintil`l`
from asserting an absence ofprobable cause in his subsequently filed civil action., the court also
cautioned against applying its holding in most other cases See Cr)ogan at 'p 175.

Unlilte in Coogan, the Plaintiff did not testify at his preliminary examination_, nor did he
call any Witnesses in his defense [-le did not offer any evidence of his own nor did he advance
any affirmative defenses In short, Plaintiff did not engage in the sort of full blown adversarial
proceedings, vigorous eross- examination of prosecution witnesses notwithstanding as Would
permit one to conclude that the issue ol.`his conduct after exiting his car and the propriety of the
shooting had been "full and i`airly" litigated

lior those reason.s, Plaintiff submits that his claims for malicious prosecution must
survive the instant motion and be presented to the trier of faet.

lV.

ln his effort to avoid Plaintii`f` s claim for intentional infliction of emotional distress_
Defendant Sharkey focuses exclusively on the "extretne and outrageous" element of the claim,
and contends that based upon the "undisputed facts", he did not "engage in any outrageous
conduct".

l.’laintiff submits, howevcr, that based upon the conveniently omitted facts (omitted in

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Sharkey’s motion) he did indeed engage in "extrerne" or "outrageous" conduct l.-le submits that
to manhandle and to probe his wound for the sole purpose of attempting to learn the path of the
bullet tbr the sole purpose et` ehoreographing a l'alse, yet plausible reason for using deadly force
is extreme or outrageous conduct Moreover, whether or not such conduct reaches the requisite
level ol` egregiousness, is a question of fact for the jury, unless this court can conclude that as a
matter ot"iaw_, no reasonable jury could find Shark.eyzs conduct to be outrageous or extreme

V.

Contrary to the Deleadant’s assertion, there was ne "'plea bargain ". Plaintifl" pled guilty
to these offenses he actually committed and the prosecutor elected net to proceed en the
assaultive offenses ehargcd, however, there was ne bargained for quidpr() quo

Plaintifl_"’s due process claim must survive the instant rnotien.

CONCLUS`ION
For the foregoing reasons, l’laintifi.` respectfully submits that the l)ei"endant Sharkey’s

motion for summary judgment must be denied

Respeetf`uliy submitted_,

    

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Dated: Mareh 27_._ 2002

_ . .ej_.._-- 7 7 7 7 -----»--.---r--.--; .s-n-nz'n',_._._¢r_r~.\..r‘rw~n~. . . . . . . h

 

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